                        Case 9:16-bk-06499-FMD            Doc 80     Filed 03/23/17      Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                         PRO MEMO

                                                              03/23/2017 11:00 AM

                                                              COURTROOM Room 4-117

HONORABLE CARYL DELANO
CASE NUMBER:                                                  FILING DATE:

9:16-bk-06499-FMD                       7                        07/29/2016

Chapter 7

DEBTOR:               Chris Carhart



DEBTOR ATTY:          Melissa Jeda

TRUSTEE:              Robert Tardif

HEARING:

(1) Fourth Motion to Extend Time to File Complaint to Deny Discharge pursuant to 11 U.S.C. Section 727 Filed by Stephanie C
                      Lieb on behalf of Carhart-Halaska International LLC, Christoper G. Halaska, Halaska International, Inc.
                      (related document(s)[59]). (Lieb, Stephanie) Doc #64
*(2) Motion to Compel Fed. R. Bankr. Pro. 2004 Production of Documents and Examination Testimony of Kexin Carhart. Filed by
                      Stephanie C Lieb on behalf of Carhart-Halaska International LLC, Christoper G. Halaska, Halaska
                      International, Inc. (Attachments: # [1] Exhibit A # [2] Exhibit B) (Lieb, Stephanie) Doc #65
- Response to Fourth Motion to Extend Time to File Complaint Filed by Richard J. Hollander on behalf of Debtor Chris E Carhart
                      (related document(s)[64]). (Hollander, Richard) Doc #67
-Response to Motion to Compel Fed. R. Bankr. Pro. 2004 Production of Documents and Examination Testimony of Kexin Carhart
                      Filed by Richard J. Hollander on behalf of Debtor Chris E Carhart (related document(s)[65]). (Hollander,
                      Richard) (Doc #72)
- Response to of Kexin Carhart to Motion to Compel Fed. R. Bankr. Pro. 2004 Production of Documents and Examination
                      Testimony of Kexin Carhart Filed by Richard J. Hollander on behalf of Attorney John S. Biallas (related
                      document(s)[65]). (Hollander, Richard) Doc #76
- Response to Kexin Carhart's Response to Motion to Compel, and Debtor's Response to Motion to Compel Filed by Stephanie
                      C Lieb on behalf of Carhart-Halaska International LLC, Christoper G. Halaska, Halaska International, Inc.
                      (related document(s)[72], [76]). (Lieb, Stephanie) Doc #77

APPEARANCES:: Richard Hollander, John Biallas, Lara Fernandez

WITNESSES:

EVIDENCE:

RULING:

                                  Case Number 9:16-bk-06499-FMD                    Chapter 7
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Lieb on behalf of Carhart-Halaska International LLC, Christoper G. Halaska, Halaska International, Inc. (related document(s)[59]).
(Lieb, Stephanie) Doc #64 - Granted until 6/30/217 O/Fernandez

*(2) Motion to Compel Fed. R. Bankr. Pro. 2004 Production of Documents and Examination Testimony of Kexin Carhart. Filed by
Stephanie C Lieb on behalf of Carhart-Halaska International LLC, Christoper G. Halaska, Halaska International, Inc. (Attachments:
# [1] Exhibit A # [2] Exhibit B) (Lieb, Stephanie) Doc #65 - Granted in part as outlined in open court (provide 1,2,10,11,12 and 15
if with husband back to 7/29/2012) O/Fernandez

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 **Ms. Fernandez will submit an order granting the Motion for Reconsideration that was filed in the adversary proceeding and file
an amended complaint by 4/28/2017 O/Fernandez**
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 9:16-bk-06499-FMD                      Chapter 7
